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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 BRENDA J. ROSE,
                                                      CIVIL ACTION
       Plaintiff,

 v.                                                   COMPLAINT 4:19-cv-02263

 ALLIED INTERSTATE, LLC,
                                                      JURY TRIAL DEMANDED
       Defendant.

                                         COMPLAINT

          NOW COMES Brenda J. Rose (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd., complaining of the Defendant, Allied Interstate, LLC (“Defendant,” or “Allied”) as

follows:

                                    NATURE OF THE ACTION

      1. Plaintiff brings this action seeking redress for violations of the Fair Debt Collection

Practices Act (“FDCPA”) pursuant to 15 U.S.C. §1692, violations of the Telephone Consumer

Protection Act (“TCPA”) pursuant to 47 U.S.C. §227, and violations of the Texas Debt Collection

Act (“TDCA”) pursuant to Tex. Fin. Code Ann. §392 .

                                    JURISDICTION AND VENUE

      2. Subject matter jurisdiction is conferred upon this Court by the FDCPA, TCPA, and 28

U.S.C. §§1331 and 1337, as the action arises under the laws of the United States. Supplemental

jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in the

Southern District of Texas, Defendant conducts business in the Southern District of Texas, and a




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substantial portion of the events or omissions giving rise to the claims occurred within the Southern

District of Texas.

                                                PARTIES

       4. Plaintiff is a consumer and natural person over 18-years-of-age who, at all times relevant,

resided in the Southern District of Texas.

       5. Defendant Allied “provides accounts receivable, customer retention and debt collection

services to blue-chip companies, from a wide range of industries, who employ us to provide these

services on their behalf.”1 Located at 12755 Highway 55, Suite 300, Plymouth, Minnesota,

Defendant is a third-party collection agency that is in the business of collecting consumer debts on

behalf of others, including debt allegedly owed by Plaintiff.

                                    FACTS SUPPORTING CAUSE OF ACTION

       6. Before the events giving rise to this cause of action, Plaintiff incurred a personal debt

(“subject debt”).

       7. Subsequently, Plaintiff allegedly defaulted on the subject debt.

       8. Around April 2019, Allied began placing phone calls to Plaintiff’s cellular telephone in an

attempt to collect on the subject debt.

       9. At all times relevant, Plaintiff was the sole subscriber, owner, possessor, and operator of

her cellular telephone number (713) XXX-3970. Plaintiff is and has always been financially

responsible for this cellular telephone and its services.

       10. After the calls began, Plaintiff answered a phone call to her cellular phone from a

representative of Allied. During this call, Plaintiff requested that Defendant stop calling her.




1
    http://www.allied-interstate.com/about/

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   11. This conversation did nothing to stem the barrage of phone calls Defendant forced Plaintiff

to endure.

   12. Notwithstanding Plaintiff’s request that Defendant cease placing calls to her cellular phone,

Defendant placed or caused to be placed numerous harassing phone calls to Plaintiff’s cellular

phone between April 2019 and the present day, including calls on back-to-back days, on weekends,

and multiple calls in one day.

   13. Moreover, in the phone calls Plaintiff answered, Plaintiff was greeted by a noticeable

period of “dead air” while Defendant’s telephone system attempted to connect Plaintiff to a live

agent.

   14. Specifically, there would be an approximate 3 second pause between the time Plaintiff said

“hello,” and the time that a live agent introduced them self as a representative of Defendant

attempting to collect on the subject debt.

   15. Likewise, Plaintiff also hears what sounds to be call center noise in the background of

Defendant’s collection calls.

   16. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and Defendant

continued its phone harassment campaign.

   17. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

using an automated telephone dialing system, a telephone dialing system that is commonly used

in the debt collection industry to collect defaulted accounts.

   18. The phone number that Defendant most often uses to contact Plaintiff is (866) 466-4502,

but upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s

cellular phone.




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                                               DAMAGES

   19. Defendant’s harassing phone calls have severely disrupted Plaintiff’s daily life and general

well-being.

   20. Plaintiff has expended time and incurred costs consulting with her attorneys as a result of

Defendant’s false, deceptive, harassing, and misleading collection efforts.

   21. Defendant’s phone harassment campaign and illegal collection activities have caused

Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon

and occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of

personal injury resulting from the distraction caused by the phone calls, aggravation that

accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of

concentration, diminished value and utility of her telephone equipment and telephone subscription

services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to his cellular

telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs

required to recharge her cellular telephone as a result of increased usage of her telephone services.

   22. Concerned about the violations of her rights and invasion of her privacy, Plaintiff sought

the assistance of counsel to permanently cease Defendant’s collection efforts, incurring costs and

expenses meeting with her attorneys.

              COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   23. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.

   24. Plaintiff is a “consumer” as defined by FDCPA §1692a(3).

   25. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.




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   26. Defendant is a “debt collector” as defined by §1692a(6) because it’s a business, the

principal purpose of which, is the collection of debts and uses the mail and/or the telephones to

collect delinquent accounts allegedly owed to a third party.

   27. Moreover, Defendant is a “debt collector” because it acquired rights to the subject debt

after it was in default. 15 U.S.C. §1692a(6).

   28. Defendant used the phone to attempt to collect the subject debt and, as such, engaged in

“communications” as defined in FDCPA §1692a(2).

   29. Defendant’s communications to Plaintiff were made in connection with the collection of

the subject debt.

   30. Defendant violated 15 U.S.C. §§1692c(a)(1), d, and d(5) through its unlawful debt

collection practices.

       a. Violations of FDCPA § 1692c

   31. Defendant violated §1692c(a)(1) when it continuously called Plaintiff after being notified

to stop. This repeated behavior of systematically calling Plaintiff’s cellular phone over and over

after she demanded that it cease contacting her was harassing and abusive. Even after being told

to stop contacting her, Defendant continued its onslaught of phone calls with the specific goal of

oppressing and abusing Plaintiff into paying the subject debt.

   32. Furthermore, Defendant has relentlessly called Plaintiff on numerous occasions. This

volume of calls shows that Defendant willfully ignored Plaintiff’s pleas with the goal of annoying

and harassing her.

   33. Defendant was notified by Plaintiff that its calls were not welcomed and harmful. As such,

Defendant knew that its conduct was inconvenient and harassing to her.




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       b. Violations of FDCPA § 1692d

   34. Defendant violated §1692d by engaging in abusive, harassing, and oppressive conduct by

relentlessly calling Plaintiff’s cellular phone seeking immediate payment on the subject debt.

Moreover, Defendant continued placing the relentless calls after Plaintiff advised Defendant to

cease placing collection calls to her cellular phone.

   35. Defendant violated §1692d(5) by causing Plaintiff’s cellular phone to ring repeatedly and

continuously in an attempt to engage Plaintiff in conversations regarding the collection of the

subject debt with the intent to annoy, abuse, or harass Plaintiff. Specifically, Defendant placed or

caused to be placed numerous harassing phone calls to Plaintiff’s cellular phone.

   36. As pled above, Plaintiff was severely harmed by Defendant’s conduct.

   37. As an experienced debt collector, Defendant knew or should have known the ramifications

of placing debt collection calls to Plaintiff after it was informed to cease placing such calls.

   38. Upon information and belief, Defendant systematically places unsolicited and harassing

debt collection calls to consumers in Illinois in order to aggressively collect debts in default to

increase its profitability at the consumers’ expense.

   39. Upon information and belief, Defendant has no system in place to document and archive

valid revocation of consent by consumers.

WHEREFORE, Plaintiff BRENDA J. ROSE respectfully requests that this Honorable Court:
  a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;
   b. Award Plaintiff statutory and actual damages, in an amount to be determined at trial, for
       the underlying FDCPA violations;
   c. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k; and
   d. Award any other relief as the Honorable Court deems just and proper.


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             COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   40. Plaintiff restates and realleges paragraphs 1 through 39 as though fully set forth herein.

   41. Defendant repeatedly placed or caused to be placed frequent non-emergency calls,

including but not limited to the calls referenced above, to Plaintiff’s cellular telephone number

using an automatic telephone dialing system (“ATDS”) or prerecorded or artificial voice without

Plaintiff’s prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).

   42. The TCPA defines ATDS as “equipment which has the capacity...to store or produce

telephone numbers to be called, using a random or sequential number generator; and to dial such

numbers.” 47 U.S.C. §227(a)(1).

   43. Upon information and belief, based on Defendant’s lack of prompt human response during

the phone calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s

cellular telephone.

   44. Upon information and belief, the ATDS employed by Defendant transfers the call to a live

agent once a human voice is detected, thus resulting in a pause after the called party speaks into

the phone.

   45. Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular phone

between April 2019 and the present day, using an ATDS without her prior consent.

   46. Any prior consent, if any, was revoked by Plaintiff’s verbal revocation.

   47. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to her cellular

phone.

   48. Upon information and belief, Defendant has no system in place to document and archive

whether it has consent to continue to contact consumers on their cellular phones.




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   49. Upon information and belief, Defendant knew its collection practices were in violation of

the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.

   50. Defendant, through its agents, representatives, subsidiaries, and/or employees acting

within the scope of their authority acted intentionally in violation of 47 U.S.C. §227(b)(1)(A)(iii).

   51. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

$500 per phone call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and

knowing violations of the TCPA triggers this Honorable Court’s discretion to triple the damages

to which Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).

WHEREFORE, Plaintiff BRENDA J. ROSE respectfully prays this Honorable Court for the
following relief:
   a. Declare Defendant’s phone calls to Plaintiff to be violations of the TCPA;
   b. Award Plaintiff damages of at least $500 per phone call and treble damages pursuant to 47
       U.S.C. § 227(b)(3)(B)&(C); and
   c. Awarding Plaintiff costs and reasonable attorney fees;
   d. Enjoining Defendant from further contacting Plaintiff; and
   e. Awarding any other relief as this Honorable Court deems just and appropriate.
                    COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   52. Plaintiff restates and realleges paragraphs 1 through 51 as though fully set forth herein.

   53. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   54. The alleged subject debt is a “debt” “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

   55. Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. § 392.001(6) and (7).




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        a. Violations of TDCA § 391.302

   56. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   57. Defendant violated the TDCA when it continuously called Plaintiff’s cellular phone after

she informed it to stop calling. This repeated behavior of systematically calling Plaintiff’s phone

despite her demands was oppressive, harassing, and abusive. The repeated contacts were made

with the hope that Plaintiff would not default on a payment. The frequency and volume of calls

shows that Defendant willfully ignored Plaintiff’s pleas with the intent of annoying and harassing

her.

   58. Furthermore, Defendant relentlessly contacted Plaintiff multiple times on numerous

occasions. Placing such voluminous calls in short succession constitutes conduct causing a

telephone to ring repeatedly or continuously with the intent to annoy, abuse, and harass Plaintiff

into making payment in violation of the TDCA.

   59. Upon being told to stop calling, Defendant had ample reason to be aware that it should

cease its harassing campaign of collection phone calls. Nevertheless, Defendant consciously chose

to continue placing calls to Plaintiff’s cellular phone.




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WHEREFORE, Plaintiff BRENDA J. ROSE respectfully requests that this Honorable Court:

       a. Declare that the practices complained of herein are unlawful and violate the
          aforementioned statute;
       b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);
       c. Award Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);
       d. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
          underlying violations;
       e. Award Plaintiff costs and reasonable attorney fees as provided under Tex. Fin. Code
          Ann. § 392.403(b) ; and
       f. Award any other relief as the Honorable Court deems just and proper


Plaintiff demands trial by jury.


Dated: June 24, 2019                                 Respectfully Submitted,

                                                     /s/ Alexander J. Taylor
                                                     /s/ Marwan R. Daher
                                                     /s/ Omar T. Sulaiman
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